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                           Exhibit A Page 1 of 2
      Case:17-03283-LTS Doc#:6653-1 Filed:04/30/19 Entered:04/30/19 18:55:32   Desc:
                                 Exhibit EXHIBIT
                                         A Page  A 2 of 2
                      TRANSFERS TO R CORDOVA TRABAJADORES SOCIALES C S P
                                   Date        Payment Amount
                                  1/8/2014           $293,093.00
                                 1/10/2014           $393,491.00
                                 3/14/2014           $250,820.00
                                  6/5/2014           $289,695.00
                                 8/15/2014           $159,767.00
                                 9/23/2014            $71,288.00
                                 9/30/2014           $111,539.00
                                11/10/2014            $86,564.00
                                12/23/2014            $72,500.00
                                 1/12/2015            $70,318.00
                                 3/24/2015            $89,473.00
                                 3/24/2015           $182,584.00
                                 5/12/2015           $228,411.00
                                 5/28/2015           $247,325.00
                                 7/13/2015           $181,614.00
                                 7/22/2015           $226,957.00
                                 10/7/2015           $378,069.00
                                 10/8/2015            $25,167.00
                                12/16/2015           $204,891.00
                                12/21/2015           $211,196.00
                                 4/28/2016           $219,925.00




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